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                        UNITED STATES DISTRICT COURT
15                     NORTHERN DISTRICT OF CALIFORNIA
                             OAKLAND DIVISION
16

17      ONE FAIR WAGE, INC.,                    Case No. 3:21-cv-2695-EMC
                                                The Hon. Edward M. Chen
18               Plaintiff,
19         vs.                                  [PROPOSED] ORDER GRANTING
                                                APPLICATION TO FILE A
20      DARDEN RESTAURANTS, INC.,               SURREPLY

21               Defendant.                     [Filed    concurrently with   the
                                                Application and Proposed Surreply
22
                                                Brief]
23
                                                 Hearing Date: August 26, 2021
24
                                                 Time: 1:30 p.m.
25
                                                 Ctrm.: G – 15th Floor
26
                                                 Complaint Filed: April 15, 2021
27
28



                         [PROPOSED] ORDER RE: SURREPLY IN 21-cv-2695
            Case 3:21-cv-02695-EMC Document 24-3 Filed 08/12/21 Page 2 of 2




 1                                [PROPOSED] ORDER
 2         For good cause, Plaintiff One Fair Wage, Inc.’s (“OFW”) request to file a
 3   surreply brief is GRANTED and the proposed surreply brief is accepted for filing.
 4

 5         IT IS SO ORDERED.
 6
 7   Dated: ______________________         _______________________________________
 8                                                    Hon. Edward M. Chen
 9                                           Judge of the United States District Court
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                         [PROPOSED] ORDER RE: SURREPLY IN 21-cv-2695
